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                                                        September 8, 2023

     VIA ECF

     Honorable Robert Kugler, U.S.D.J.                                 Honorable Thomas I. Vanaskie (Ret.)
     U.S. District Court - District of New Jersey                      Special Master
     Mitchell S. Cohen Building & US                                   Stevens & Lee
     Courthouse                                                        1500 Market St., East Tower, Suite 1800
     1 John F. Gerry Plaza, Courtroom 4D                               Philadelphia, Pennsylvania 19103-7360
     4th and Cooper Streets
     Camden, New Jersey 08101

                Re:        In re Valsartan, Losartan, and Irbesartan Liability Litigation,
                           Case No. 1:19-md-02875-RBK (D.N.J.)

     Dear Judge Kugler and Judge Vanaskie:

                Please accept this letter on behalf of Plaintiffs in advance of the September 12, 2023 case

     management conference.

          A. Manufacturer Defendants’ Losartan/Irbesartan Discovery Disputes.

                I.         ZHP

                      a. Relevant Time Period: The Parties have reached agreement on the Relevant Time
                         Period for custodial searches. For the following nine custodians, ZHP will search
                         custodial files from January 1, 2008 to present:

                                 •     Baohua Chen
                                 •     Jun Du
                                 •     Peng Dong
                                 •     Jucai Ge
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                       •   Peng Wang
                       •   Linhong Lin
                       •   Remonda Gergis
                       •   Hai Wang
                       •   Eric Tsai

                  For the remaining custodians, ZHP will search custodial files from January 1, 2010

         to present.

             b. Search Terms: The Parties have reached agreement on search terms and will
                utilize in large-part the terms agreed to during the valsartan discovery phase of the
                case with minor additions and deletions. The primary losartan and irbesartan search
                terms are contained at Exhibit 1 and modifier terms are contained at Exhibit 2.

             c. Custodians: The Parties are also pleased to report they have reached agreement on
                the list of custodians. A copy of said list is attached as Exhibit 3.

     II. Hetero

             a. Relevant Time Period
         The parties have agreed that custodial discovery will begin January 1, 2014. The parties

  have been unable to come to an agreement on the end date for custodial discovery. Plaintiffs

  believe that the end date for custodial discovery should be through the present. Plaintiffs do not

  believe that extending that time period through to the present will present substantial additional

  burden, and that there likely continued to be activities, such as inspections of Hetero’s facilities,

  etc., which retrospectively investigated and provided information regarding the contamination of

  Losartan with nitrosamines. Hetero believes that the end date for custodial discovery should be

  through December 31, 2019, with the exception for relevant communications to or from the FDA,

  which Hetero is willing to provide through the present.
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         For non-custodial discovery, the parties have agreed that the start and end dates shall be

  based upon the relevant time period needed to encapsulate the specific categories of documents.

  For example, for non-custodial documents related to the research and development of Hetero’s

  Losartan Process II, documents will be produced related to the development of that process even

  if such documents are dated prior to January 1, 2014. Similarly, with regard to testing of Losartan

  produced using Process II for the presence of nitrosamines, testing results will be produced even

  if they occurred subsequent to December 31, 2019, if any exist.

             b. Search Terms
         For custodial productions, the parties have agreed to use the same search terms previously

  used for Valsartan discovery with the following modifications:

                      i. The ANDA/DMF numbers will be replaced with the relevant Losartan
                         related ANDA/DMF numbers;
                     ii. The NDC codes will be replaced with the relevant Losartan NDC codes;
                    iii. The brand name drugs will be replaced with the relevant Losartan brand
                         name drugs.

             c. Custodians
         In general, the parties believe that the custodians previously identified for Valsartan

  discovery are also applicable for Losartan discovery. The parties are continuing to work to finalize

  custodians, but have agreed to the following custodians subject to the confirmation of a few roles:

                       i.   Surya GopalaKrishna Tummuri
                      ii.   Panchakshari Nandyappa Gowda
                    iii.    Venkata Praveen Kumar Penubaka
                     iv.    Bhaskar Reddy Pabbatireddy
                      v.    Ramesh Ramavath
                     vi.    Ravinder Reddy Patlolla
                    vii.    Tulasi Rao Pinjala
                   viii.    Venkataramana Madireddy
                     ix.    Vijaya Bhaskara Reddy Muvva
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           Hetero Labs Limited is continuing to work to identify additional custodians in their

  Research and Development and Business Development units who were involved with Hetero’s

  development of their Losartan Process II, and who will be added to the agreed custodians listed

  above.

           The parties are also working to confirm custodians for Hetero’s US based affiliated entities

  (Hetero USA and Camber) but believe, as of the present time, that those custodians will also be

  the same as the ones previously identified for the Valsartan discovery.

     III. Teva
             a. Relevant Time Period
           Finally, Plaintiffs and Teva have reached agreement in principle on the relevant time period

  for Teva’s production. The start shall be May 1, 2020 to June 10, 2020, with certain documents or

  custodians postdating this time period additionally may be produced pending further discussions

  between the parties. This end date is based in part on Teva’s unique circumstances insofar as its

  recalls and sales are ended a year before the end date and, further, the facility at which Teva made

  losartan closed prior to the end date as well.

              b. Search Terms
           The parties have reached agreement in principle on search terms, including a procedure for

  modifying terms if any term yields disproportionately large hits on not responsive documents.

              c. Custodians
           Plaintiffs and Teva have reached agreement in principle on custodians, and further have

  agreed to address potential supplemental custodians if they are identified in Plaintiffs’ review of

  Teva’s initial losartan productions.
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     IV. Torrent

             a. Relevant Time Period
         The parties have agreed to the beginning of the relevant time period for the custodial

  production to be January 1, 2014. However, the parties have a dispute as to the end of the relevant

  time period for the custodial production.

         Torrent argues that the end of the relevant time period should be December 31, 2019 based

  on the date preliminarily identified by Plaintiffs in their Requests for Production of Documents

  before Plaintiffs had the benefit of discovery. That date was selected before Plaintiffs knew each

  Defendant’s contamination story. Now, after receiving core discovery, Plaintiffs are confident that

  the Relevant Time Period is January 1, 2014 through the present. This timeframe encompasses

  Torrent’s internal investigation after the recall, Torrent’s nitrosamine testing protocols, and

  subsequent regulatory actions and communications between the FDA and Torrent. Of all the

  defendants, Torrent was the last or one of the last manufacturers to issue some of its recalls of

  contaminated losartan and Torrent did not issue these recalls until September 20, 2019.

         As we learned in Valsartan, Torrent continued to investigate the causes of the nitrosamine

  contamination for years after they initiated the recall. In addition, one month after Torrent initiated

  the losartan recalls in September 20, 2019, the FDA issued a warning letter on October 15, 2019

  for Torrent’s Taluka-Kadi, Indrad, Gujarat facility (a facility where Torrent manufactured losartan)

  due to failure to follow written procedures for production and process control and failure to

  adequately investigate batch discrepancies. In September 2022, the FDA re-inspected Torrent’s

  Taluka-Kadi, Indrad facility (the same facility where Torrent manufactured losartan) and the FDA

  issued another form 483 violation letter for contamination of its facility and again for failing to
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  adequately investigate products that failed lab testing. Plaintiffs have a right to the highly relevant

  documents regarding the communications surrounding the FDA’s and Torrent’s investigations that

  would have occurred before and after the FDA in October 2019 and in September 2022 found

  these violations at the factory where Torrent manufactured losartan. In addition, Plaintiffs have a

  right to the documents regarding communications of Torrent’s investigations after Torrent issued

  its recalls in September 2019. Under Torrent’s proposed timeframe, Plaintiffs would not receive

  the vast majority of these highly relevant documents.

               b. Search Terms
         The Parties have reached an agreement on search terms and will utilize in large part the

  terms agreed to during the valsartan discovery phase of the case with minor additions and deletions.

  The search terms are attached in Exhibit 4.

               c. Custodians
     The Parties have also reached an agreement on the custodian list and this list is attached as

  Exhibit 5.

     V. Vivimed

               a. Relevant Time Period.
         The parties have reached an agreement as to the relevant time period for Vivimed. The

  Relevant Time Period for Vivimed with begin on January 1, 2011 to present.

               b. Search Terms:
         Plaintiffs and Vivimed have had several meet and confers regarding search terms and have

  reached an agreement on the terms Exhibit 6.
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             c. Custodians.
         The parties are pleased to report that they have reached an agreement as to many

  custodians. The list of custodians is as follows:

             1. Nagesh Majeti – Director of Quality Assurance (2012-2023).
             2. Ravi Prakash Reddy –VP Technical Operations and Alathur Site Head (2015-
                present).
             3. Swamy KN – Sr VP Analytical Quality Control (2006-present).
             4. Chandran Tiruvattar – Vice President Regulatory Affairs (2018-present).
             5. Harikrishnan N- Senior Manager Supply Chain (2018-present)
             6. Balu P- Quality Control (2016-present)
             7. Humesh Kale- Quality Assurance (2007-present)
             8. A. Arivarasu- Senior Manager in Manufacturing Storage & Transportation (3/8/17-
                present)
             9. M. Senthilkumar – Senior Manager in Quality Assurance (4/1/16-11/30/22)

     VI. Aurobindo

             a. Relevant Time Period:
         The parties reached an agreement as to when the relevant time period for Aurobindo should

  begin (September 1, 2013), but there remains a dispute as to when this period should end. Plaintiffs

  and Aurobindo had previously reached an agreement that the Relevant Time Period should end on

  the date the Requests for Production were served (on May 22, 2013), as shown in the email excerpt

  from Aurobindo’s attorney, Jeff Masters, below:
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  During meet and confers the parties had agreed that this would end on May 22, 2023, the date on

  which Plaintiffs’ Requests for Production were served. However, Aurobindo subsequently

  changed its position and now wants the Relevant Time Period to end on December 31, 2019.

           While Aurobindo contends this date is appropriate because its sales terminated by the end

  of that year, that was not where relevant discussions concerning Aurobindo, its contaminated

  irbesartan, or the FDA’s involvement ended. While Plaintiffs do not currently have the benefit of

  seeing Aurobindo’s internal documents from the most recent years, Plaintiffs are aware that as

  recently as January 2022, Aurobindo continued to receive warning letters 1 from the FDA directed

  to Unit I, which manufactured irbesartan. These warning letters described Aurobindo’s “failure to

  evaluate the potential effect that changes may have on [its] intermediates and API” as shown

  below:




  1
                           https://www.fda.gov/inspections-compliance-enforcement-and-criminal-
  investigations/warning-letters/aurobindo-pharmaceutical-limited-618091-01122022.
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  The FDA’s letter to Aurobindo further notes that these issues have been ongoing since 2019 and

  persist at least through the date of this letter:




  Based on this, it is clear that additional evidence of Aurobindo’s cGMP violations continued to be

  generated after Aurobindo’s proposed end date for the relevant time period. In receiving a letter

  like this, teams of employees (including and especially those selected as custodians) would have

  needed to investigate these ongoing violations, draft responses, conduct meetings about the letters,

  and enact changes based upon the violations. Truncating the relevant time period earlier would

  prevent Plaintiffs from obtaining documents that allow them to establish Aurobindo’s pattern of

  cGMP noncompliance.
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             b. Search Terms:
         Plaintiffs and Aurobindo have had several meet and confers regarding search terms and

  have reached an agreement on the terms in Exhibit 7. The Parties may have disagreements in the

  future about whether and how many terms are subject to renegotiation after Aurobindo has

  collected its full set of documents, but there are no disputes ripe for the Court on search terms at

  this time. Plaintiffs’ position is that Aurobindo and Plaintiffs have been discussing both custodians

  and search terms for weeks, and the attached list of search terms should therefore be final, pending

  extraordinary findings of erroneous or too many hits on a term that was not foreseeable through

  sampling that could have been done now.

             c. Custodians:
         The parties are pleased to report that they have reached an agreement as to all custodians.

  The list of custodians is as follows:

             1. A. Vannur Reddy
             2. Kalakada Narasimha Reddy
             3. Vijay Kumar Handa
             4. Blessy Johns
             5. C.V. Satyendranath
             6. Dasarathi
             7. Gattupalli Madhava Ramprasad
             8. Govindarajan Narayanan
             9. Hanumanthu Penchalaiah
             10. Hemant Kumar Sharma
             11. Jaipal Reddy
             12. Kurresambi Reddy
             13. Madhusudhana Reddy
             14. R. Nagaraju
             15. Rajaeev TL
             16. Ram Mohan A Rao
             17. Ram Pravesh Singh
             18. Shahid Siddiqui
             19. Srinivas K. Rama
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             20. Subramanyam Maddala
             21. Sudhakar Reddy Mandepudi
             22. Swaminathan Srinivas

     VII.        ScieGen

             a. Relevant Time Period:
         The Parties agree that the Relevant Time Period for ScieGen should begin April 1, 2015

  and further agree that for two custodians (Siva Reddy PV and Pailla Raghuram), the Relevant Time

  Period extends further to cover due diligence activities involving Aurobindo.

         Plaintiffs believed that the Parties had agreed the Relevant Time Period would extend

  through the present based on conversations in which the Parties reviewed the Court’s November

  25, 2019 Order together and concluded that the Relevant Time Period, in that Order, went through

  the “present,” but on August 31, 2023 counsel for ScieGen indicated that ScieGen had

  subsequently reached a different conclusion as to the Relevant Time Period that should apply for

  ScieGen. ScieGen now argues that the Relevant Time Period is December 31, 2019 based on the

  date preliminarily identified by Plaintiffs in their Requests for Production of Documents before

  Plaintiffs had the benefit of discovery. That date was selected before Plaintiffs knew each

  Defendant’s contamination story.

         Now, after receiving core discovery and conferring with ScieGen—as well as discussing

  the Court’s November 25, 2019 Order with them—Plaintiffs are confident that the Relevant Time

  Period is April 1, 2015 through the present. Not only is this date consistent with the Court’s prior

  Order, but it encompasses the recall, ScieGen’s internal investigation, ScieGen’s testing protocols,

  and subsequent regulatory actions and product development decisions made at ScieGen. For

  example, Plaintiffs do not yet know when (or why) ScieGen decided not to bring Irbesartan back
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  to market and whether ongoing testing and product development played any role in such a decision

  or, whether this decision is based on the inability of ScieGen’s API supplier Aurobindo to

  manufacture API not contaminated with nitrosamines. Plaintiffs believe they are entitled to

  discovery on these matters.

                b. Search Terms:

         Plaintiffs and ScieGen have had several meet and confers regarding search terms and have

  reached an agreement as to the attached list of search terms (Exhibit 8). To the extent the parties

  have subsequent disagreements, those agreements will be resolved between the Parties as

  contemplated by Section 2 of the Search Terms protocol after documents are collected, based on

  hit count reports. It is Plaintiffs’ position that the search terms list should therefore be final,

  pending extraordinary findings regarding search terms hits that were not foreseeable.

                c. Custodians:
         The Parties have reached an agreement as to custodians and have identified the following

  custodians:

                         1.   Siva Reddy PV, Chief Operating Officer
                         2.   Krishna Mohan (a/k/a Chilakamarthy Krishnamohan)
                         3.   Bala Murali, Director, QA
                         4.   Dr. Pannaa Raghuram, SVP CQC/RA
                         5.   Joseph Romano, CFO (current)
                         6.   Renee Reynolds, CFO (previous)
                         7.   Vishnu Marisetti, Head of Analytical R&D
                         8.   Prakash Rajendran, Deputy Manager, RA
         While the Parties principally agreed that the above custodians would be produced for the

  Relevant Time Period, ScieGen agreed that custodians Siva Reddy PV and Pailla Raghuram would

  also be produced for two topics beyond the Relevant Time Period, specifically, the selection of
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  Aurobindo as an API supplier and enforcement of the Quality Agreement(s) with Aurobindo in

  2012; the ScieGen Irbesartan ANDA was submitted on September 26, 2012.

     B. Status Report Regarding Preparation of Losartan/Irbesartan Fact Sheets.

         In light of Judge Vanaskie's ruling at the September 7, 2023 hearing, the Parties will meet

  and confer on the losartan/irbesartan fact sheets and will notify the Court if there are any

  outstanding disputes. Plaintiffs will be prepared to discuss the status of that meet and confer during

  the conference.

     C. PFS Deficiencies and Orders to Show Cause.

         Plaintiffs will be prepared to address this issue during the conference.

                                         Respectfully,



                                         ADAM M. SLATER

  Cc: All counsel of record (via ECF)
